                                 Case 5:22-cv-01656-NC Document 13 Filed 04/11/22 Page 1 of 2




                  1   Daniel M. Anderson (SBN 167652)
                      John Cannizzaro (SBN 305047)
                  2   Ice Miller LLP
                      250 West Street
                  3   Suite 700
                      Columbus, Ohio 43215
                  4   Tel: 614-462-2700
                      Fax: 614-228-4847
                  5
                      Counsel for Defendant/Counterclaim-Plaintiff
                  6   Arlen Ness Enterprises, Inc.

                  7

                  8                           IN THE UNITED STATES DISTRICT COURT
                                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                  9                                     SAN JOSE DIVISION

                 10    HTTMT GROUP LLC, SECRET
                       EQUIPMENT INC., XKH GROUP INC.,
                 11    and HK MOTO INC.,

                 12                      Plaintiffs,

                 13            v.
                                                                              Case No.: 5:22-cv-01656 – NC
                       ARLEN NESS ENTERPRISES, INC.,
ICE MILLER LLP




                 14

                 15                      Defendant.

                 16    ARLEN NESS ENTERPRISE, INC.,                           Magistrate Judge Nathanael M. Cousins

                 17                      Counterclaim-Plaintiff,

                 18            v.                                             DEFENDANT’S CERTIFICATE OF
                                                                              INTERESTED PARTIES
                 19    HTTMT GROUP LLC, SECRET
                       EQUIPMENT INC., XKH GROUP INC.,
                 20    HK MOTO INC.,

                 21            Counterclaim-Defendants.

                 22
                                            DEFENDANT ARLEN NESS ENTERPRISES, INC.’S
                 23                            CERTIFICATE OF INTERESTED PARTIES

                 24           Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date other than the

                 25   named Defendant, there is no such interest to report.

                 26

                 27

                 28            5:22-cv-01656 – Defendant’s Answer, Affirmative Defenses and Counterclaims
                      4858-7844-0475.1
                               Case 5:22-cv-01656-NC Document 13 Filed 04/11/22 Page 2 of 2




                  1   Dated: April 11, 2022                     Respectfully submitted,

                  2                                             /s/Daniel M. Anderson
                                                                Daniel M. Anderson (SBN 167652)
                  3                                             Email: Daniel.Anderson@IceMiller.com
                                                                John Cannizzaro (SBN 305047)
                  4                                             Email: John.Cannizzaro@IceMiller.com
                                                                T. Earl LeVere (Pro Hac Vice Motion to be filed)
                  5                                             Email: Earl.LeVere@IceMiller.com
                                                                Ice Miller LLP
                  6                                             250 West St., Suite 700
                                                                Columbus, OH 43215
                  7                                             Tel: 614-462-2700
                                                                Fax: 614-228-4847
                  8

                  9
                                                                Matthew R. Grothouse (Pro Hac Vice Motion to be
                 10                                                 filed)
                                                                Email: Matt.Grothouse@IceMiller.com
                 11                                             Tom Rammer (Pro Hac Vice Motion to be filed)
                                                                Email: tom.rammer@icemiller.com
                 12                                             Ice Miller LLP
                                                                200 West Madison, Suite 3500
                 13                                             Chicago, IL 60606
ICE MILLER LLP




                                                                Tel: 312-726-1567
                 14                                             Fax: 312-726-7102
                                                                Attorneys for Arlen Ness Enterprises, Inc.
                 15

                 16

                 17

                 18

                 19
                 20

                 21

                 22

                 23

                 24

                 25

                 26

                 27

                 28
                               5:22-cv-01656 – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4858-7844-0475.1                             2
